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     Attorneys for Defendant, COUNTY OF
   8 RIVERSIDE
   9                                     UNITED STATES DISTRICT COURT
  10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 SYBIL DAVIS, an individual and as a                                      Case No. 5:16-CV-01323-JGB (KKx)
     Successor in Interest to ANTHONIE D.                                     [The Hon. District Judge, Jesus G.
  13 SMITH; A.Y.D., a minor and as a                                          Bernal, Magistrate Judge, Kenly Kiya
     Successor in Interest to ANTHONIE D.                                     Kato]
  14 SMITH, by and through her Guardian
     Ad Litem SYBIL DAVIS; N.A.D., a                                          [PROPOSED] ORDER GRANTING
  15 minor and as a Successor in Interest to                                  MOTION TO DISMISS PORTIONS
     ANTHONIE D. SMITH, by and                                                OF COMPLAINT
  16 through her Guardian Ad Litem SYBIL
     DAVIS,                                                                   [FRCP 12(b)(6)]
  17
                 Plaintiffs,
  18                                                                          Date: August 22, 2016
           v.                                                                 Time: 9:00 a.m.
  19                                                                          Ctrm: 1
     THE COUNTY OF RIVERSIDE; THE
  20 CITY OF MORENO VALLEY; and
     DOES 1 through 50, inclusive,
  21
                 Defendants.
  22
  23             After reading and considering the Motion to Dismiss Portions of the Complaint
  24 filed by Defendant COUNTY OF RIVERSIDE, and the papers filed in support of and
  25 in opposition to the motion, and good cause appearing,
  26             IT IS HEREBY ORDERED THAT Defendant’s Motion to Dismiss portions of
  27 the Complaint is granted on the following grounds:
  28             1.        The first claim for municipal liability under Monell v. Department of Soc.
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   1 Serv., 436 U.S. 658 (1978) fails to state a claim upon which relief can be granted
   2 against Defendant County of Riverside.
   3
   4 Dated: ________________                                         By: _____________________________
                                                                           U.S. DISTRICT COURT JUDGE
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